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 9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11
12      Jose Estrada,                               Case No.
13                Plaintiff,                        Complaint For Damages And
                                                    Injunctive Relief For Violations Of:
14         v.                                       American’s With Disabilities Act;
                                                    Unruh Civil Rights Act
15      US Bank, N.A.; and Does 1-10,
16                Defendants.
17
18
19          Plaintiff Jose Estrada complains of Defendants US Bank, N.A.; and Does 1-
20   10 (“Defendants”) and alleges as follows:
21
22          PARTIES:
23      1. Plaintiff is a California resident with physical disabilities. He is a paraplegic
24   who cannot walk and who uses a wheelchair for mobility. He drives a van with an
25   electric ramp and uses portable hand controls.
26      2. Defendant US Bank, N.A. owned the US Bank located at or about 3645 E.
27   Imperial Hwy., Lynwood, California, in October 2017.
28      3. Defendant US Bank, N.A. owns the US Bank (“Bank”) located at or about


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 1   3645 E. Imperial Hwy., Lynwood, California, currently.
 2      4. Plaintiff does not know the true names of Defendants, their business
 3   capacities, their ownership connection to the property and business, or their relative
 4   responsibilities in causing the access violations herein complained of, and alleges a
 5   joint venture and common enterprise by all such Defendants. Plaintiff is informed
 6   and believes that each of the Defendants herein, including Does 1 through 10,
 7   inclusive, is responsible in some capacity for the events herein alleged, or is a
 8   necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
 9   when the true names, capacities, connections, and responsibilities of the Defendants
10   and Does 1 through 10, inclusive, are ascertained.
11
12      JURISDICTION & VENUE:
13      5. This Court has subject matter jurisdiction over this action pursuant to 28
14   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
15   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
16      6. Pursuant to supplemental jurisdiction, an attendant and related cause of
17   action, arising from the same nucleus of operative facts and arising out of the same
18   transactions, is also brought under California’s Unruh Civil Rights Act, which act
19   expressly incorporates the Americans with Disabilities Act.
20      7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is founded
21   on the fact that the real property which is the subject of this action is located in this
22   district and that Plaintiff's cause of action arose in this district.
23
24      FACTUAL ALLEGATIONS:
25      8. Plaintiff went to the Bank in October 2017 to cash a check.
26      9. The Bank is a facility open to the public, a place of public accommodation,
27   and a business establishment.
28      10. Transaction counters are one of the facilities, privileges and advantages


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 1   offered by Defendants to patrons of the Bank.
 2      11. At the Bank, there are a number of service counters for surface transactions
 3   between the bank tellers and the customers. Although there is one lowered teller
 4   window, where disabled customers can theoretically conduct business with banking
 5   personnel, this lowered section of the counter was not made available when Plaintiff
 6   visited the bank.
 7      12. Instead, even though Plaintiff wanted to use the lowered counter, and even
 8   though plaintiff asked to be helped at the lowered counter, an employee of the bank
 9   did not help him there. Rather, the employee forced the Plaintiff to use the higher
10   counter, which was too high.
11      13. Because the defendants do not have a policy of providing assistance to
12   disabled customers at the lowered counter, the plaintiff was discriminated on the
13   day of his visit.
14      14. Plaintiff personally encountered this barrier.
15      15. This inaccessible condition denied the plaintiff full and equal access and
16   caused him difficulty and frustration.
17      16. Plaintiff would like to return and patronize the Bank but will be deterred from
18   visiting until the Defendants cure the violations.
19      17. The defendants have failed to maintain in working and useable conditions
20   those features required to provide ready access to persons with disabilities.
21      18. The violations identified above are easily removed without much difficulty
22   or expense. They are the types of barriers identified by the Department of Justice as
23   presumably readily achievable to remove and, in fact, these barriers are readily
24   achievable to remove. Moreover, there are numerous alternative accommodations
25   that could be made to provide a greater level of access if complete removal were not
26   achievable.
27      19. Plaintiff is and has been deterred from returning and patronizing the Bank
28   because of his knowledge of the illegal barriers that exist. Plaintiff will, nonetheless,


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 1   return to assess ongoing compliance with the ADA and will return to patronize the
 2   Bank as a customer once the barriers are removed.
 3      20. Given the obvious and blatant violation, the plaintiff alleges, on information
 4   and belief, that there are other violations and barriers on the site that relate to his
 5   disability. Plaintiff will amend the complaint, to provide proper notice regarding the
 6   scope of this lawsuit, once he conducts a site inspection. However, please be on
 7   notice that the plaintiff seeks to have all barriers related to his disability remedied.
 8   See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 9   encounters one barrier at a site, he can sue to have all barriers that relate to his
10   disability removed regardless of whether he personally encountered them).
11      21. Additionally, on information and belief, the plaintiff alleges that the failure
12   to remove these barriers was intentional because: (1) these particular barriers are
13   intuitive and obvious; (2) the defendants exercised control and dominion over the
14   conditions at this location and, therefore, the lack of accessible facilities was not an
15   “accident” because had the defendants intended any other configuration, they had
16   the means and ability to make the change.
17
18   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
19   DISABILITIES ACT OF 1990 (On behalf of plaintiff and against all defendants
20   (42 U.S.C. section 12101, et seq.)
21      22. Plaintiff repleads and incorporates by reference, as if fully set forth again
22   herein, the allegations contained in all prior paragraphs of this complaint.
23      23. Under the ADA, it is an act of discrimination to fail to ensure that the
24   privileges, advantages, accommodations, facilities, goods and services of any place
25   of public accommodation is offered on a full and equal basis by anyone who owns,
26   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
27   Discrimination is defined, inter alia, as follows:
28             a. A failure to make reasonable modifications in policies, practices, or


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 1                 procedures, when such modifications are necessary to afford goods,
 2                 services, facilities, privileges, advantages, or accommodations to
 3                 individuals with disabilities, unless the accommodation would work a
 4                 fundamental alteration of those services and facilities. 42 U.S.C. §
 5                 12182(b)(2)(A)(ii).
 6             b. A failure to remove architectural barriers where such removal is
 7                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 8                 defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 9                 Appendix “D.”
10             c. A failure to make alterations in such a manner that, to the maximum
11                 extent feasible, the altered portions of the facility are readily accessible
12                 to and usable by individuals with disabilities, including individuals
13                 who use wheelchairs or to ensure that, to the maximum extent feasible,
14                 the path of travel to the altered area and the bathrooms, telephones, and
15                 drinking fountains serving the altered area, are readily accessible to
16                 and usable by individuals with disabilities. 42 U.S.C. § 12183(a)(2).
17      24. Pursuant to section 7.2 of the ADAAG, in areas used for transactions that
18   may not have a cash register but at which goods or services are sold or distributed
19   including, but not limited to, ticketing counters, teller stations, registration counters
20   in transient lodging facilities, information counters, box office counters and library
21   check-out areas, either:
22          (i) a portion of the main counter which is a minimum of 36 inches in length
23   shall be provided with a maximum height of 36 inches; or
24          (ii) an auxiliary counter with a maximum height of 36 inches in close
25   proximity to the main counter shall be provided; or
26          (iii) equivalent facilitation shall be provided (e.g., at a hotel registration
27      counter, equivalent facilitation might consist of: (1) provision of a folding shelf
28      attached to the main counter on which an individual with a disability can write,


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 1      and (2) use of the space on the side of the counter or at the concierge desk, for
 2      handing materials back and forth).
 3      25. Here, even though Defendants have a lowered transaction counter, they failed
 4   to provide the lowered transaction counter for Plaintiff to use for his banking
 5   transaction on the day he visited.
 6      26. Instead, Plaintiff was directed to use the higher transaction counters, which
 7   are not suitable for disabled customers who need a lowered transaction counter to
 8   conduct banking business. It is not enough to have a lowered transaction counter if
 9   the defendants do not use the counter to conduct business with those that the counter
10   was meant for. It was as though the lowered counter did not exist because Plaintiff
11   was forced to use a transaction counter meant for the general public.
12      27. A public accommodation must maintain in operable working condition those
13   features of its facilities and equipment that are required to be readily accessible to
14   and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
15      28. Here, the failure to ensure that the accessible facilities were available and
16   ready to be used by the plaintiff is a violation of the law.
17      29. Given its location and options, plaintiff will continue to desire to patronize
18   the Bank but he has been and will continue to be discriminated against due to the
19   lack of accessible facilities and, therefore, seeks injunctive relief to remove the
20   barriers.
21
22   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
23   RIGHTS ACT (On behalf of plaintiff and against all defendants) (Cal Civ § 51-53)
24      30. Plaintiff repleads and incorporates by reference, as if fully set forth again
25   herein, the allegations contained in all prior paragraphs of this complaint.
26      31. Because the defendants violated the plaintiffs’ rights under the ADA, they
27   also violated the Unruh Civil Rights Act and are liable for damages. (Civ. Code §
28   51(f), 52(a).)


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 1      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 2   discomfort or embarrassment for the plaintiffs, the defendants are also each
 3   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-(c).)
 4
 5          PRAYER:
 6          Wherefore, Plaintiff prays that this court award damages and provide relief
 7   as follows:
 8       1. For injunctive relief, compelling defendants to comply with the Americans
 9   with Disabilities Act and the Unruh Civil Rights Act. Note: the Plaintiff is not
10   invoking section 55 of the California Civil Code and is not seeking injunctive relief
11   under the Disabled Persons Act at all.
12       2. Damages under the Unruh Civil Rights Act which damages provide for actual
13   damages and a statutory minimum of $4,000.
14       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
15   42 U.S.C. § 12205; Cal. Civ. Code § 52.
16
17   Dated: January 3, 2018              CENTER FOR DISABILITY ACCESS
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19
                                         By: _______________________________
                                                  __________________
20
                                                Isabel Masanque, Esq.
21                                              Attorney for Plaintiff
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